            Case 2:17-cv-07450-MCA-MAH Document 3 Filed 10/20/17 Page 1 of 1 PageID: 76
    LIMITED STATES DISTRICT COURT/ DISTRICT OF NEW JERSEY                                     Attorney: LEVI HUEBNER & ASSOCIATES



    AMIANDA HAGER
                                                                                  Plaintiff(s)
                                                                                                  Index # 2:17-CV-07450-MCA-MAH
                                        - against

                                                                                                  Purchased September 25, 2017
    NATIONAL RECOVERY AGENCY
                                                                              Defendant(s)
                                                                                                  AFFIDAVIT OF SERVICE

    STATEOF          ?h . : COUNTY O                 F         ss;
n          \ (.L . C)gcK«‫״‬orfc(                      v
           ™ J   BEING DULY SWORN DEPOSES AND SAYS DEPONENT IS NOT A PARTY TO THIS ACTION, OVER THE AGE OF
    EIGHTEEN YEARS AND RESIDES AT             /       +    i     !          H 0
    That on October 17, 2017 at 09:38 AM at

    2491 PAXTON STREET
    HARRISBURG, PA 17111

    deponent served the within SUMMONS AND COMPLAINT on NATIONAL RECOVERY AGENCY therein named.
                     BY LEAVING A TRUE COPY WITH ARY MELENDEZ, BEING AUTHORIZED TO ACCEPT LEGAL PAPERS STATED.

                     Deponent further states that he describes the person actually served as follows:

                       Sex         Skin Color            Hair Color           Age (Approx.)        Height (Approx.)         Weight (Approx)

                     FEMALE           TAN                 BROWN                     25                  5      1      4       0               5‫־‬




     Sworn to me on:   dCtCbfir 2C,2Crt                    COMMONWEALTH OF PENNSYLVANIA
                                                                   N O T A R IA L SE A L
                                                             Lauren Kam inski. Notary Public
                                                            Lower Paxton Twp. Dauphin County
                                                                                                                   7 Server: ,
                                                            My commission expires July 25. 2021
                                                                                                                          Invoice#: 681676
         UNITED PROCESS SERVICE, INC., 3RD FLOOR, 315 BROADWAY, NEW YORK, NY 10007 - (212) 619-0728 NYCDCA#1102045
